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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                            ABINGDON DIVISION


UNITED STATES OF AMERICA                          )
                                                  )        Case No. 1:02CR00011
                                                  )
                                                  )        OPINION
v.                                                )
                                                  )        By: James P. Jones
JAMES TURNER,                                     )        Chief United States District Judge
                                                  )
                Defendant.                        )

      Sharon Burnham, Assistant United States Attorney, Roanoke, Virginia, for
United States; James Turner, Pro Se Defendant.

        The government has objected to any reduction in sentence for this defendant,

who is eligible for such a reduction under 18 U.S.C. § 3582(c)(2) by virtue of the

lowering of the crack cocaine guidelines.1

        I will overrule the government’s objections.

        The government’s objections may be divided into three groups. First, the

government emphasizes the conduct underlying the offense, including the amount of

        1
          This district is reported to have the fourth largest number of defendants who qualify for a
reduction in sentence under the Sentencing Commission’s policy on retroactivity. Unfortunately,
it appears that the United States Attorney for this district is objecting to reduction in every case, even
those which provide for a reduction in sentence of only a few months. While the Department of
Justice opposed the retroactivity of the amended guidelines, once the Sentencing Commission
unanimously decided on retroactivity—a decision which Congress has not overruled—a per se
objection to any reduction does not serve the public interest. For example, the court is required to
consider the public safety in determining whether to reduce a particular sentence, see USSG §
1B1.10 cmt. n.1(B)(ii) (Mar. 3, 2008), and the government’s blanket objection in all cases does not
assist the court in making that decision, and, in fact, hinders it.
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crack cocaine for which the defendant was responsible and the defendant's role in the

offense. Second, the government points to the defendant’s criminal history. Finally,

the government contends that the defendant’s behavior while incarcerated militates

against a reduction.

      The guidelines provide a vehicle for consideration of conduct underlying an

offense. The defendant’s Total Offense Level takes into account the amount of crack

cocaine for which the defendant was responsible and the defendant's role in the

offense. In this case, the defendant was held responsible for less than 500 grams of

crack cocaine, in accord with his plea agreement. Upon the government's motion, the

defendant received a three-level reduction for demonstrable acceptance of

responsibility. The government later filed a Substantial Assistance Motion, which

allowed the defendant to receive a further reduction in his sentence. The government

has not offered any reason that the defendant should not continue to benefit from

accepting responsibility and providing assistance to the government, and I cannot

conceive of any reason why the defendant's commendable actions should bar him

from receiving the benefit of a one-month sentence reduction.

      With regard to the defendant’s criminal history, the guidelines also provide a

mechanism for consideration of prior convictions through calculation of a criminal

history score. In this case, the defendant’s criminal history put him in Category II and

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his guideline range was calculated accordingly. To do as the government suggests,

would doubly penalize the defendant for his criminal history. Absent any evidence

that the defendant’s criminal history category uniquely fails to reflect his actual

criminal history or danger to the public, I do not find his prior convictions to be a bar

to reduction in sentence.

      The government’s final argument is that the defendant has behaved in such a

manner in prison as to indicate that it would be dangerous to release him into the

community. In the almost six years that the defendant has been incarcerated, he has

been sanctioned for misconduct, including phone abuse, stealing, and disruptive

conduct. I do not find that the defendant’s post-sentencing conduct is significant

enough to bar a one-month reduction of his sentence.

      Infractions in prison can be serious and may indicate that a defendant will

disregard the rules and laws of the community. Accordingly, the Bureau of Prisons

has the discretion to grant or withhold good time, giving some inmates the

opportunity to eliminate fifteen percent of the total sentence imposed by the court.

Nothing in my ruling today changes that. If the Bureau of Prisons has determined

that the defendant’s infractions warrant a reduction in his good time, then the

defendant may be required to serve the entirety of his new sentence in prison.

Furthermore, if the government decides that deprivation of good time is an

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insufficient penalty for an infraction, then it has the option of prosecuting an inmate

for the crimes he committed in prison.

      A separate judgement will be entered.

                                               Dated: March 12, 2008

                                                /S/ JAMES P. JONES
                                               Chief United States District Judge




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